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       CARE LEVEL CLASSIFICATION FOR MEDICAL AND
       MENTAL HEALTH CONDITIONS OR DISABILITIES

                                    Federal Bureau of Prisons
                                          Clinical Guidance


                                               MAY 2019




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recent update to this document: http://www.bop.gov/resources/health_care_mngmt.jsp.
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1. PURPOSE OF THIS GUIDANCE
This Federal Bureau of Prisons (BOP) Clinical Guidance for Care Level Classification for Medical
and Mental Health Conditions or Disabilities provides recommendations for classifying inmates’
medical and mental health conditions so that the inmates can be assigned to the BOP institutions
that can best meet their health care needs. This document is an update to the February 2014 BOP
Care Level Classification for Medical/Psychiatric Conditions or Disabilities.


2. GOAL OF THE CARE LEVEL CLASSIFICATION SYSTEM
Prisons are not necessarily built with access to community medical resources in mind. Many
federal prisons are in remote rural locations that have limited numbers of specialists and only
small community hospitals. Inmates have a higher prevalence of chronic medical and mental
health conditions than the general population. The goal of this classification system is to match
inmate health care needs (particularly in terms of intensity of care issues, access to community
medical resources, and functional criteria) with institutions that can meet those needs. The
intended result is improved management of these inmates’ conditions at a lower overall cost to
the agency.


3. CARE LEVELS
There are four levels in the BOP medical care level classification system. Each inmate and each
institution are assigned a care level.
• INMATE CARE LEVELS are determined by their medical and/or mental health needs and are based
  primarily on the chronicity, complexity, intensity, and frequency of interventions and services
  that are required, as well as an inmate’s functional capability.
• INSTITUTION CARE LEVELS are based primarily on the clinical capabilities and resources of the
  institution and the surrounding community, as well as specific missions, e.g. dialysis,
  oncology, etc.

DESIGNATION OF INMATE CARE LEVELS

INITIAL DESIGNATIONS
• CARE LEVELS 1 AND 2: A provisional care level, identified by SCRN in Sentry, is assigned by the
  Designation and Sentence Computation Center (DSCC) for newly-sentenced inmates meeting
  Care Level 1 or 2 criteria, based primarily on information contained in the presentence
  investigation report.
• CARE LEVELS 3 AND 4: The Office of Medical Designations and Transportation (OMDT)
  performs the initial (provisional) classification and designation of newly-sentenced inmates
  who meet Care Level 3 or 4 criteria.
• After arrival at the designated facility, the provisional care level is reviewed and a
  nonprovisional care level is assigned by BOP clinicians.



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REDESIGNATIONS
When the health care needs of a BOP inmate change to CARE LEVEL 3 OR 4, a Redesignation Referral
Request is submitted in the electronic health record for consideration of transfer.
• Ordinarily, Care Level 3 inmates are not redesignated or transferred from one BOP facility to
  another within 12–18 months of their Projected Release Date (PRD)—taking into
  consideration potential Residential Reentry Center (RRC) transfer dates—unless the needed
  services are not available locally, or non-medical issues require the inmate to be transferred
  from their current location. These cases will be reviewed individually and determined on a
  case-by-case basis.
• Ordinarily, inmate refusal of treatment solely for the purpose of reducing their care level will
  not result in a reduction of their care level so long as the underlying condition requiring that
  treatment persists.
• A tissue diagnosis and treatment plan are usually needed, and any necessary surgery
  accomplished, prior to redesignating BOP inmates for cancer care. There are a few notable
  exceptions:
   ►   The diagnosis of hepatocellular carcinoma may be confirmed by specialized CT or MRI
       imaging without the need for biopsy and tissue diagnosis.
   ►   The diagnosis and treatment of sarcoma are often best accomplished at a sarcoma
       treatment center and may be deferred until transfer, if the diagnosis of sarcoma is highly
       likely based on other available diagnostic tests and specialist evaluations.
   ►   Once the diagnosis of prostate cancer is made, based on PSA and prostate biopsy results,
       a treatment plan from a urologist is not needed prior to submitting a Redesignation Referral
       Request for inmates who want treatment. Inmates for whom active surveillance is
       appropriate do not need to be transferred and may be monitored at their current
       institution.

CARE LEVELS 1–4 FOR INMATES: GENERAL DESCRIPTION

CARE LEVEL 1
• Care Level 1 inmates are less than 70 years of age and are generally healthy.
• They may have limited medical needs that can be easily managed by clinician evaluations
  every 6–12 months.
 Example conditions: Mild asthma, diet-controlled diabetes, stable HIV patients not requiring
  medications, well-controlled hyperlipidemia or hypertension, etc.


CARE LEVEL 2
• Care Level 2 inmates are stable outpatients who require clinician evaluations monthly to
  every 6 months.
• Their medical and mental health conditions can be managed through routine, regularly
  scheduled appointments with clinicians for monitoring.
• Enhanced medical resources, such as consultation or evaluation by medical specialists, may
  be required from time to time.
 Example conditions: Medication-controlled diabetes, epilepsy, or emphysema.



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CARE LEVEL 3
• Care Level 3 inmates are outpatients who have complex, and usually chronic, medical or
  mental health conditions and who require frequent clinical contacts to maintain control or
  stability of their condition, or to prevent hospitalization or complications.
• They may require assistance with some activities of daily living (ADLs) that can be
  accomplished by inmate companions. Stabilization of medical or mental health conditions
  may require periodic hospitalization.
 Example conditions: Cancer in partial remission, advanced HIV disease, severe mental illness in
  remission on medication, severe (NYHA Class III) congestive heart failure, and end-stage liver
  disease.


CARE LEVEL 4
• Care Level 4 inmates require services available only at a BOP Medical Referral Center
  (MRC), which provides significantly enhanced medical services and limited inpatient care.
• Functioning may be so severely impaired as to require 24-hour skilled nursing care or nursing
  assistance.
 Example conditions: Cancer on active treatment, dialysis, quadriplegia, stroke or head injury
  patients, major surgical treatment, and high-risk pregnancy.


DEFINITIONS USED IN CARE LEVEL CLASSIFICATION

ACTIVITIES OF DAILY LIVING (ADLS)
Activities including eating, urinating, defecating, bathing, and dressing/undressing.

CHRONIC
A disease or condition that requires monitoring or treatment for greater than 12 months.
(Compare to SELF-LIMITED below.)
 In cases where intensive clinical intervention for an inmate’s condition lasts beyond a limited duration,
  it is considered CHRONIC. See TABLE 1 below, under INTENSIVE CLINICAL INTERVENTION.

FUNCTIONAL CRITERIA
Uses ADL and SAFETY/VULNERABILITY factors as functional criteria to characterize inmates’ abilities
into three groups:
• Independent, no assistance is required
• Assistance from an inmate companion is required
• Assistance from a health care staff member is required (see NURSING INTERVENTIONS below)
    The need for a wheelchair or assistance in pushing a wheelchair are not care level criteria and are
     not indications for a medical transfer.

                             (The list of DEFINITIONS continues on the next two pages.)




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INTENSIVE CLINICAL INTERVENTIONS
• A period of increased frequency of monitoring and/or treatment for a duration of 3–6 months,
  depending on the type of intervention.
    Limited periods of INTENSIVE CLINICAL INTERVENTION are not representative of the inmate’s baseline
     (maintenance) level of clinical intervention, which may be much less frequent. Only the inmate’s
     baseline is to be used to determine a care level assignment, unless the duration of the intervention
     becomes extensive. (See TABLE 1 below.)
• INTENSIVE CLINICAL INTERVENTION can be used for the purpose of achieving improved clinical
  indicators of disease management, such as blood pressures, hemoglobin A1C (HbA1C), HIV
  viral load, peak flows, etc.
• INTENSIVE CLINICAL INTERVENTION is also used to stabilize a condition after a clinical event, e.g.,
  reducing angina frequency after a myocardial infarction, short-term anticoagulation after a
  deep vein thrombosis (6–12 months), IV antibiotics for methicillin-resistant Staphylococcus
  aureus or osteomyelitis, or narcotic analgesics after a serious injury.
• INTENSIVE CLINICAL INTERVENTION INCLUDES contacts with physicians, mid-level providers (MLPs),
  pharmacists, nurses, physical and occupational therapists, and specialists; it can include lab
  tests, x-rays, dressing changes, and similar encounters, which may occur as often as daily.
  INTENSIVE CLINICAL INTERVENTION does not include pill lines.
• INTENSIVE CLINICAL INTERVENTION beyond a limited duration will be considered CHRONIC or
  indefinite, and may warrant an increase in the inmate’s care level. See TABLE 1 below.

   TABLE 1. TIME FRAMES FOR COMMON INTERVENTIONS TO BE DEFINED AS “CHRONIC”
               INTERVENTION                                         T IMEFRAME
     Anticoagulation with warfarin      Indefinite or long-term (more than 6–12 months)
     IV antibiotics (outpatient)        More than 3 months
     Wound care*                        More than 4 weeks when healing goals are not met, despite
                                        optimized basic wound care and consultation with a specialist
     Nursing care                       More than 3 months
     Lab or x-ray monitoring            Tests more frequent than monthly for more than 6 months
     Provider contacts                  Daily to monthly for more than 6 months for the same condition
     (physician, MLP)
     Assistance with ADLs               More than 3 months for a permanent condition that has reached
                                        maximal function
     Chronic opioid medications         More than 3 months
     Specialist consults                At least monthly for more than 3 months in order to maintain
                                        outpatient status (i.e., prevent hospitalization)
     Supervised PT/OT                   More than 3 months
     * Paraplegic inmates who have a history of one skin breakdown are at high risk for future decubiti,
       and are less likely to heal with intensive clinical intervention at a Care Level 1 or 2 institution.
       These cases should be referred for redesignation prior to the 3-month mark. Refer to the
       Appendix 2 for more details about medical classification criteria for WOUNDS.




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NURSING INTERVENTIONS
A level of care or assistance with ADLs that cannot, by BOP policy, be provided by inmate
companions or inmate patient care assistants (PCAs). For the purpose of assigning a care level
classification, NURSING INTERVENTIONS also include tasks that may also be performed by other types
of staff such as wound care, IV fluid and medication administration, and certain physical or
occupational therapy modalities.

OPTIMAL MANAGEMENT
The health care interventions being provided are consistent with BOP clinical guidance,
published clinical guidelines, or generally accepted standards of practice, with the goal of
achieving desired clinical outcome measures (e.g., target blood pressure, HbA1C levels, or CD4
counts) through a combination of efforts: appropriate medications, clinical monitoring and
interventions at intervals necessary to achieve the desired outcomes, and patient participation in
and compliance with the treatment plan.

SAFETY/VULNERABILITY
A factor to be considered under FUNCTIONAL CRITERIA in determining a care level assignment. Some
inmates are particularly vulnerable to injury, assault, or victimization due to a physical or mental
health condition. Examples may include inmates who are blind and deaf, or who have a history
of a severe head injury and wander into other cells or are continuously disoriented, etc. This
factor should be considered in determining a care level assignment if it is permanent, and if
NURSING INTERVENTIONS (see above) are required to adequately manage the issues of concern. For
example, a blind inmate who copes with a general population institution with the assistance of an
inmate companion would not score as a Care Level 3 or 4.

SELF-LIMITED
A condition which can reasonably be expected to resolve within six months, with or without
medical or surgical treatment. Examples include most infections, fractures, joint sprains, etc.
SELF-LIMITED also applies to conditions such as hernias, meniscus tears of the knee, and
cholelithiasis, where surgical intervention would reasonably resolve the condition. (Compare to
CHRONIC above.)


USUAL CLINICAL INTERVENTIONS
The frequency of CHRONIC care clinic encounters with a physician or mid-level provider that are
required to maintain the inmate in outpatient status, once the inmate’s major conditions are
stable, OPTIMAL MANAGEMENT (see above) has been achieved, and a long-range treatment plan has
been established. The frequency of USUAL CLINICAL INTERVENTIONS is one primary criterion for
determining care level assignment. (Compare to INTENSIVE CLINICAL INTERVENTIONS above.)

USE OF THE APPENDICES IN DETERMINING AN INMATE’S CARE LEVEL
The APPENDICES are useful guides for determining an inmate’s care level.
• Appendix 1 lists specific conditions assigned a Care Level 3 or 4 classification.
• Appendix 2 identifies care levels for the more common medical conditions or interventions,
  and expands on some of the information in Appendix 1.
• Appendix 3 provides an algorithm for determining care levels that are not covered by the first
  two appendices.


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APPENDIX 1. MEDICAL CONDITIONS DEFAULTING TO CARE LEVEL 3 OR 4
                              CARE LEVEL 3 CONDITIONS AND I NTERVENTIONS
 AUTOIMMUNE/CHRONIC CONNECTIVE T ISSUE/RHEUMATOLOGIC
 • Persistent or poorly controlled symptoms for greater than 3–6 months, despite optimal treatment,
   including chronic steroid and/or immunomodulator therapy OR
 • IV immunomodulator infusion, e.g., infliximab, vedolizumab, etc., approved by NFR and for which
   there is no acceptable subcutaneous injection (e.g., adalimumab, anakinra, certolizumab, etanercept)
 CARDIOVASCULAR
 • Anticoagulation with warfarin for more than 6–12 months OR
 • Heart failure, NYHA Class III
 DIABETES MELLITUS (DM)
 DM with one or more of the following:
 • Type 1 DM OR
 • Intensive insulin therapy required to achieve glycemic control in type 2 DM (considered on a case-by-
   case basis in consultation with the Regional Medical Director; decisions will be based in-part on the
   use of a long acting insulin or the ability of the institution to provide a near-bedtime dose of NPH
   insulin, as well as pre-meal regular insulin three times daily) OR
 • More than 2 serious end-organ complications OR
 • Poorly controlled (HbA1C greater than 9%) for at least 12 months, despite provider’s adherence to
   clinical guidance OR
 • Insulin pump or continuous glucose monitor
 ENDOCRINOLOGIC
 • Addison’s disease OR
 • Panhypopituitarism
 GASTROINTESTINAL
 Inflammatory bowel disease with:
 • Persistent or poorly controlled symptoms for greater than 3–6 months, despite optimal treatment,
   including chronic steroid and/or immunomodulator therapy OR
 • IV immunomodulator infusion, e.g., infliximab, vedolizumab, etc., approved by NFR and for which
   there is no acceptable subcutaneous injection (e.g., adalimumab, anakinra, certolizumab, etanercept)
 HEMATOLOGIC
 • Sickle cell anemia with exacerbations (crisis) more frequently than every 2 years, despite optimal
   management (see Appendix 2 for other qualifications)
 HEPATIC
 • Decompensated cirrhosis/end-stage liver disease as evidenced by one or more of the following:
   Moderate ascites, encephalopathy, INR ≥ 1.7, platelet count < 50,000, a history of bleeding
   esophageal varices, or a CTP score of 7 or higher (see Appendix 2 for other qualifications)
 INFECTIOUS DISEASES
 HIV infection with one or more of the following:
 • CD4 count > 50 and < 150, despite following at least 6 months of appropriate HAART therapy,
   regardless of compliance OR
 • Failed therapy despite adequate treatment with 2 different antiretroviral regimens, confirmed with
   resistance patterns on genotype testing OR
 • Co-infection with HBV and meeting criteria for treatment of HBV
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                             CARE LEVEL 3 CONDITIONS AND I NTERVENTIONS (CONTINUED)
 MALIGNANCIES
 • In partial remission OR
 • Requires intensive monitoring, but is not being actively treated with chemotherapy or radiation OR
 • Chronic Myelogenous Leukemia in chronic phase with complete hematologic and cytogenetic
   responses and at least a major molecular response after 12–18 months of treatment with a first- or
   second-line tyrosine kinase inhibitor
 MEDICATIONS DEFAULTING TO CARE LEVEL 3 (CHRONIC/LONG-TERM USE)
 • IV infusions of immunomodulators OR
 • Systemic steroids OR
 • Warfarin anticoagulation
 MENTAL HEALTH
 Psychiatric conditions that do not meet criteria for inpatient admission, with one or more of the following:
 • Two or more psychiatric hospitalizations in the past 3 years OR
 • Psychotic illness treated with 3 or more anti-psychotic medications OR
 • Multiple diagnoses treated with ≥ 5 psychotropic medications OR
 • Requires outpatient contacts with a prescribing clinician more frequently than monthly over an
   extended period of time (at least 6 months), despite optimized medication regimens
 NEUROLOGIC
 Progressive neurologic conditions (dementia, Huntington’s chorea, multiple sclerosis, myasthenia
 gravis, Parkinson’s disease, etc.):
 • For multiple sclerosis: Chronic therapy with interferon beta-1a and -1b OR
 • Requires assistance from an inmate companion to perform ADLs in an outpatient setting and not yet
   meeting the algorithm criteria for CARE LEVEL 4 (does not yet require 24-hour skilled nursing care or
   nursing assistance)
 PAIN MANAGEMENT
 • Chronic pain that requires clinical interventions more frequently than monthly on a chronic basis, other
   than for medication renewal OR
 • Has an implanted device, such as a narcotic pump or spinal cord stimulator (does not include TENS)
 RENAL
 • Chronic kidney disease (CKD) with a GFR < 30, but not yet on dialysis (see discussion of
   qualifications in Appendix 2)
 RESPIRATORY
 Asthma/COPD with one or more of the following:
 • History of intubation, status asthmaticus, or hospitalization for stabilization, within the past 5 years OR
 • Requires clinical interventions more frequently than monthly to maintain outpatient status, despite
   optimized treatment (does not include nebulizer treatments) OR
 • Severe persistent asthma severity or STEP 6 therapy for greater than 3–6 months, despite optimized
   treatment, e.g., high-dose inhaled corticosteroids plus a second controller and/or chronic systemic
   steroid therapy OR
 • Frequent exacerbations despite optimized medical therapy
 WOUNDS
 • History of prior stage 3 or 4 pressure ulcer (now healed) AND ongoing risk factors, e.g., spinal cord
   injury/paraplegia OR
 • High-risk diabetic foot—neuropathy with at least one of the following: Significant foot deformity,
   peripheral arterial disease not surgically correctable, or history of amputation
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                             CARE LEVEL 3 CONDITIONS AND I NTERVENTIONS (CONTINUED)
 OTHER CONDITIONS AND I NTERVENTIONS:
 • Implanted medical device, e.g., defibrillator, pacemaker, medication pump, spinal cord stimulator
 • Organ transplant more than 1 year ago, and without complications
 • Oxygen required, intermittent or nocturnal only
                                    CARE LEVEL 4 CONDITIONS AND I NTERVENTIONS
 ARTHROPLASTY candidate for a major joint or candidate for anterior cruciate ligament surgery
 CANCER (MALIGNANCIES) requiring treatment with systemic chemotherapy, radiation, or organ
 transplantation
 CLINICAL OR NURSING INTERVENTIONS required daily or near daily for more than 3–6 months
 CYSTIC FIBROSIS
 DIALYSIS
 FUNCTIONAL LIMITATIONS due to cognitive or physical impairment that prevent successful management in
 general population, despite appropriate assistance from an inmate companion in performing ADLs or
 the use of durable medical equipment
 HEART FAILURE, NYHA Class IV
 HIV with CD4 count < 50, despite HAART
 ORGAN TRANSPLANT (excluding cornea) candidate or transplant accomplished less than 1 year ago
 OXYGEN required continuously
 PREGNANCY – High-risk
 PROSTHETIC CASES being redesignated/transferred to an MRC, specifically for fabrication or revision of
 a prosthesis
 T RANSFER TO AN MRC medical bed approved (e770 referral to OMDT)
 WOUNDS – Stage 3 or 4 pressure ulcers (see discussion of qualifications in Appendix 2)
 
     PREGNANCY is high-risk with these conditions: Presence of pulmonary hypertension, serious heart disease,
     uncontrolled diabetes, sickle cell disease, multiple gestations, pre-eclampsia, 2nd/3rd trimester bleeding, cancer,
     and/or serious mental health issues being treated with medications.
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APPENDIX 2: MEDICAL CLASSIFICATION CRITERIA
    CONDITION/DIAGNOSIS                                    CRITERIA/CARE LEVEL
                        AUTOIMMUNE/CONNECTIVE T ISSUE/RHEUMATOLOGIC CONDITIONS
 AUTOIMMUNE/CHRONIC           CARE LEVEL 3
 CONNECTIVE T ISSUE/          • Persistent or poorly controlled symptoms for greater than 3–6 months,
 RHEUMATOLOGIC DISEASES         despite optimal treatment with chronic steroid and or immunomodulator
                                therapy OR
                              • IV immunomodulator infusion, e.g., infliximab, vedolizumab, etc.,
                                approved by non-formulary request (NFR) and for which there is no
                                acceptable subcutaneous injection, e.g., adalimumab, anakinra,
                                certolizumab, etanercept
                                      CARDIOVASCULAR CONDITIONS
 ARRHYTHMIA                   Use Appendix 3, Medical Classification Algorithm.
 CAD                          Use Appendix 3, Medical Classification Algorithm.
 HEART F AILURE               CARE LEVEL 1
                              • No history of heart failure
                              CARE LEVEL 2
                              • NYHA Class I or II
                              CARE LEVEL 3
                              • NYHA Class III
                              CARE LEVEL 4
                              • NYHA Class IV
 HYPERTENSION                 CARE LEVEL 1
                              • Blood pressure well-controlled on two or less medications
                              CARE LEVEL 2
                              • Blood pressure not at treatment goal with two or less medications OR
                              • Blood pressure control requires three or more medications
 VALVULAR DISEASE             Use Appendix 3, Medical Classification Algorithm, except when on chronic
                              anticoagulation with warfarin.
                              CARE LEVEL 3
                              • On chronic anticoagulation with warfarin
 VASCULAR DISEASE             Use Appendix 3, Medical Classification Algorithm.
                                         DIABETES MELLITUS (DM)
 DM T YPE 1 OR 2              CARE LEVEL 1
 (see next page for           • DM Type 2, controlled by diet alone
 CARE LEVEL 3)
                              CARE LEVEL 2
                              • DM Type 2, on diabetic medications and needs clinical interventions no
                                more often than monthly
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    CONDITION/DIAGNOSIS                                   CRITERIA/CARE LEVEL
                                 DIABETES MELLITUS (DM) (CONTINUED)
 DM T YPE 1 OR 2             CARE LEVEL 3
                             • Type 1 DM OR
                             • Intensive insulin therapy required to achieve glycemic control in type 2
                               DM (considered on a case-by-case basis in consultation with the
                               Regional Medical Director; decisions based in part on the use of a long-
                               acting insulin or the ability of the institution to provide a near-bedtime
                               dose of NPH insulin plus pre-meal regular insulin three times daily) OR
                             • More than two serious end-organ complications OR
                             • Poorly controlled (HbA1C greater than 9%) for at least 12 months,
                               despite provider’s adherence to clinical guidance OR
                             • Insulin pump or continuous glucose monitor
                                     ENDOCRINOLOGIC CONDITIONS
 ADDISON’S DISEASE           CARE LEVEL 3
 HYPOTHYROIDISM              CARE LEVEL 1
 PANHYPOPITUITARISM          CARE LEVEL 3
                                    GASTROINTESTINAL CONDITIONS
 INFLAMMATORY BOWEL          CARE LEVEL 1
 DISEASE                     • Asymptomatic, not on treatment
                             CARE LEVEL 2
                             • On treatment, infrequent flares of symptoms
                             CARE LEVEL 3
                             • Persistent or poorly controlled symptoms for greater than 3–6 months,
                               despite optimal treatment with chronic steroid and/or immunomodulator
                               therapy OR
                             • IV immunomodulator infusion, e.g., infliximab, vedolizumab, etc.,
                               approved by NFR and for which there is no acceptable subcutaneous
                               injection, e.g., adalimumab, anakinra, certolizumab, etanercept
                                       HEMATOLOGIC CONDITIONS
 SICKLE CELL T RAIT          CARE LEVEL 1
 SICKLE CELL ANEMIA          CARE LEVEL 2
                             • No more than one crisis every 2 years
                             CARE LEVEL 3
                             • Crisis more often than every 2 years despite optimal management OR
                             • Frequent clinical interventions needed to maintain outpatient status OR
                             • Based on assistance required for ADLs
                             CARE LEVEL 4
                             • Needs daily or nearly daily nursing care
 MISCELLANEOUS               Use Appendix 3, Medical Classification Algorithm.
 HEMATOLOGIC DISORDERS
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    CONDITION/DIAGNOSIS                                       CRITERIA/CARE LEVEL
                                                HEPATIC DISEASE
 HEPATITIS A, B, C, OR D         CARE LEVEL 1
 (without end-stage liver
 disease, on or off treatment)
 CIRRHOSIS                       CARE LEVEL 3
 (end-stage liver disease)       • Frequent clinical interventions needed to maintain outpatient status OR
                                 • Based on assistance required for ADLs OR
                                 • Decompensated cirrhosis, as evidenced by any one of the following:
                                   moderate ascites, encephalopathy, INR ≥ 1.7, platelet count < 50,000, or
                                   a history of bleeding esophageal varices. These cases will be transferred
                                   preferentially to available MRC CARE LEVEL 3 sites.
                                 CARE LEVEL 4
                                 • Needs daily or nearly daily nursing care
                                             INFECTIOUS DISEASES
 HIV                             CARE LEVEL 1
                                 No treatment; does NOT meet criteria for HAART:
                                 • Asymptomatic AND
                                 • CD4 count > 500 AND
                                 • Undetectable viral load
                                 CARE LEVEL 2
                                 • With or without treatment, CD4 count between 150 and 500
                                 CARE LEVEL 3
                                 • CD4 count > 50 and < 150 following at least 6 months of appropriate
                                   HAART therapy, regardless of compliance OR
                                 • Failed therapy despite adequate treatment with 2 different antiretroviral
                                   regimens, confirmed with resistance patterns on genotype testing OR
                                 • Co-infection with HBV and meeting criteria for treatment of HBV
                                 CARE LEVEL 4
                                 • CD4 count < 50, despite adequate HAART trial
 T UBERCULOSIS                   CARE LEVEL 1
                                                 MALIGNANCIES
 • A tissue diagnosis and a treatment plan are usually required prior to redesignation/transfer
   of cancer cases.
   ► Examples of malignancies that may NOT require a tissue diagnosis include hepatocellular carcinoma
     and soft tissue sarcoma with characteristic radiographic features.
 • Necessary surgery is usually performed locally prior to redesignation/transfer of cancer cases.
   ► Prostate cancer is a type of cancer for which transfer is usually accomplished prior to treatment,
     when indicated.
                         (Discussion of MALIGNANCIES continues on the next two pages.)
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    CONDITION/DIAGNOSIS                                   CRITERIA/CARE LEVEL
                                       MALIGNANCIES (CONTINUED)
 GENERAL CRITERIA            CARE LEVEL 1
 FOR M ALIGNANCIES           • Cured and no further monitoring required OR
                             • In full remission for ≥ 2 years, with low risk of relapse, and monitoring
                               less frequently than every 6 months OR
                             • Skin cancers that do not require systemic therapy and treatment is
                               available locally
                             CARE LEVEL 2
                             • In full remission < 2 years OR
                             • Requires ongoing, infrequent monitoring every 1–6 months
                             CARE LEVEL 3
                             • In partial remission OR
                             • Requires intensive monitoring
                             CARE LEVEL 4
                             • Active treatment with systemic chemotherapy, radiation, or organ
                               transplant
 CHRONIC LYMPHOCYTIC         CARE LEVEL 2
 LEUKEMIA (CLL)              • Asymptomatic, early-stage disease, and treatment not indicated. Periodic
                               surveillance (e.g., every 3 months and as clinically indicated)
                               recommended with CBC + diff and clinical exam.
                             CARE LEVEL 4
                             • Symptomatic disease (weakness, night sweats, fever, weight loss,
                               painful lymphadenopathy, recurrent infection) OR
                             • Advanced stage disease (hgb < 11 gm/dL, or platelet count < 100,000,
                               or wbc > 100,000) OR
                             • Refractory or relapsed disease OR
                             • Second lymphoid/hematologic malignancy
 CHRONIC MYELOGENOUS         CARE LEVEL 3
 LEUKEMIA (CML)              • CML in chronic phase with complete hematologic and cytogenetic
                               responses and at least a major molecular response after 12–18 months
                               of treatment with a first- or second-line tyrosine kinase inhibitor (TKI)
                               (e.g., imatinib, desatinib, nilotinib)
                               ► Complete hematologic response (normal CBC with diff, asymptomatic,
                                 and resolution of splenomegaly) AND
                               ► Complete cytogenetic response (no Ph-positive metaphases on bone
                                 marrow aspirate and cytogenetics) AND
                               ► Major molecular response (either 0.1% BCR-ABL1 by QPCR or ≥ 3-log
                                 decrease from baseline of BCR-ABL1 mRNA from peripheral blood
                                 sample)
                             CARE LEVEL 4
                             • CML in accelerated or blast phase OR
                             • CML in chronic phase with an incomplete response after 12–18 months
                               of treatment with a first- or second-line tyrosine kinase inhibitor (TKI)
                               (e.g., imatinib, desatinib, nilotinib), intolerance of TKI treatment, or
                               relapse of chronic phase after an initial response as noted under CARE
                               LEVEL 3 criteria
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    CONDITION/DIAGNOSIS                                   CRITERIA/CARE LEVEL
                                      MALIGNANCIES (CONTINUED)
 PROSTATE CANCER             CARE LEVEL 2
                             • Very low-risk or low-risk prostate cancer for which active surveillance
                               and postponement of treatment is appropriate OR
                             • Localized prostate cancer cases that have completed appropriate
                               treatment, with a good PSA response and no significant complications at
                               least one month after completion of treatment, and with or without
                               androgen deprivation therapy, e.g., leuprolide (Treatment complete
                               transfer requests from an MRC to a general population facility must
                               include a surveillance and treatment plan.) OR
                             • Stage IV prostate cancer cases at least one month after completion of
                               (and without complications from) radiation or surgery, if indicated, and
                               whose metastatic disease is asymptomatic or well-controlled on
                               androgen deprivation therapy
                             CARE LEVEL 4
                             • Inmates with biopsy-confirmed prostate cancer who are candidates for
                               active treatment (Once a biopsy diagnosis of cancer has been made, a
                               referral for redesignation to an MRC should be initiated. A decision to do
                               surgery or to initiate radiation or chemotherapy prior to transfer to an
                               MRC should be made in consultation with the Chief of Health Programs
                               before this treatment is started, unless it is deemed urgent.) OR
                             • Stage IV prostate cancer cases (lymph node involvement or
                               disseminated metastases) that have completed primary treatment and
                               whose metastatic disease is symptomatic or not controlled with androgen
                               deprivation therapy
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    CONDITION/DIAGNOSIS                                         CRITERIA/CARE LEVEL
                                           MENTAL HEALTH CONDITIONS
 Mental Health (MH) care levels are defined in the BOP policy statement, Treatment and Care of Inmates with
 Mental Illness (5310.XX). The criteria below provide additional indicators of disease severity for consideration when
 assigning an MH care level and are also used for assigning mental health SCRN Levels for initial designation cases.

 These CARE LEVEL criteria CARE LEVEL 1-MH
 apply to the following       • No history of psychosis or mania (other than related to substance abuse)
 diagnoses:                     AND

 • ANXIETY DISORDERS          • No history of hospitalization (other than related to substance abuse) in
   (e.g., generalized anxiety   the last 5 years AND
   disorder, panic disorder,  • Requires outpatient contacts with a prescribing clinician no more
   post-traumatic stress        frequently than every 6 months on a chronic basis to maintain outpatient
   disorder, obsessive          status AND
   compulsive disorder,       • Symptoms are controlled on no more than 2 psychotropic medications,
   simple phobias)              excluding atypical antipsychotics
 • BIPOLAR DISORDER I OR II CARE LEVEL 2-MH
                            • History of psychiatric hospitalization in the last 5 years (not related to
 • DEPRESSIVE DISORDERS
                              substance abuse) OR
   (e.g., adjustment
   disorder, depression,    • Requires outpatient contacts with a prescribing clinician every 1–6
   dysthymia)                 months to maintain outpatient status OR
                            • Requires chronic treatment with atypical antipsychotic medication or
 • PSYCHOTIC DISORDERS        more than two total psychotropic medications
   (e.g., delusional,
   psychotic,               CARE LEVEL 3-MH*
   schizoaffective,         Psychiatric conditions that do not meet criteria for inpatient admission with
   schizophrenia; excluding one or more of the following:
   substance-induced        • Two or more psychiatric hospitalizations in the past 3 years OR
   psychosis)               • Psychotic illness treated with 3 or more anti-psychotic medications OR
 • SOMATOFORM DISORDERS • Multiple diagnoses treated with ≥ 5 psychotropic medications OR
                            • Requires outpatient contacts with a prescribing clinician more frequently
                              than monthly over an extended period of time (at least 6 months),
                              despite optimized medication regimens.
                                 * CARE LEVEL 3-MH criteria may take precedence over CARE LEVEL 3 medical
                                    criteria for designation purposes; the inmate may be designated to a
                                    CARE LEVEL 3-MH facility based on the recommendation of the Psychology
                                    Mental Health Treatment Coordinator, in collaboration with OMDT staff.
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     CONDITION/DIAGNOSIS                                           CRITERIA/CARE LEVEL
                                                NEUROLOGIC CONDITIONS
 CHRONIC NON-PROGRESSIVE Use Appendix 3, Medical Classification Algorithm.
 NEUROLOGICAL CONDITIONS
 (cerebral palsy, history of
 stroke, intellectual disabilities,
 paralysis, seizure disorder,
 etc.)
 PROGRESSIVE             CARE LEVEL 2
 NEUROLOGICAL CONDITIONS • Based on frequency of clinical interventions needed to maintain
 (dementia, Huntington’s   outpatient status or ability to do ADLs independently.
 chorea, multiple sclerosis,
 myasthenia gravis,                   CARE LEVEL 3
 Parkinson’s disease, etc.)           • For multiple sclerosis: Chronic therapy with interferon beta-1a & -1b OR
                                      • Requires assistance from an inmate companion to perform ADLs in an
                                        outpatient setting and not yet meeting the algorithm criteria for CARE
                                        LEVEL 4 (does not yet require 24-hour skilled nursing care or nursing
                                        assistance)
                                      CARE LEVEL 4
                                      • Functional limitations due to cognitive or physical impairment that
                                        prevent successful management in general population, despite
                                        appropriate assistance from an inmate companion in performing ADLs or
                                        the use of durable medical equipment OR
                                      • Requires daily or near daily assistance from health care staff on a health
                                        care unit, e.g., memory unit or nursing care unit
                                                ORTHOPEDIC CONDITIONS
 ARTHROPLASTY OF A MAJOR CARE LEVEL 4
 JOINT OR ACL SURGERY    • BOP criteria for surgery are met, as described in BOP Clinical Practice
                           Guidelines: Evaluation and Management of Osteoarthritis of the Hip and
                           Knee, and Management of Anterior Cruciate Ligament Injuries.
 PROSTHETICS                          CARE LEVEL 4
                                      • Prosthetic cases being redesignated/transferred to an MRC, specifically
                                        for fabrication or revision of a prosthesis
                                                   PAIN MANAGEMENT
 CHRONIC PAIN                         CARE LEVEL 1
                                      • Does not require long-term (> 90days) opioid medications while in BOP
                                        after adequate BOP evaluation AND
                                      • Requires no or minimal assistance in ADLs
                                      CARE LEVEL 2
                                      • Requires long-term (> 90 days) opioid medications while in BOP after
                                        adequate BOP evaluation AND
                                      • Requires no or minimal assistance in ADLS
                                      CARE LEVEL 3
                                      • Requires clinical interventions more frequently than monthly on a chronic
                                        basis, other than for medication renewal, OR
                                      • Has an implanted device, such as an opioid pump or spinal cord
                                        stimulator (does not include TENS)
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    CONDITION/DIAGNOSIS                                     CRITERIA/CARE LEVEL
                                                PREGNANCY
 HIGH-RISK PREGNANCY           CARE LEVEL 4
                               • Pregnancy-specific conditions: Multiple gestations, pre-eclampsia,
                                 2nd/3rd trimester bleeding OR
                               • Other medical conditions: Pulmonary hypertension, serious heart
                                 disease, uncontrolled diabetes, sickle cell disease, cancer, and/or
                                 serious mental health issues being treated with medications.
                                              RENAL DISEASE
 CHRONIC KIDNEY DISEASE        CARE LEVEL 3
 (CKD)                         • GFR < 30, but not yet on dialysis
                                 (Decisions to transfer to an MRC CARE LEVEL 3 population with access
                                 to dialysis will be based in part on the likelihood of progression to
                                 dialysis: diabetic nephropathy with poor glycemic control, persistent
                                 proteinuria ≥ 1000 mg /day, uncontrolled hypertension despite
                                 appropriate medication regimen, or persistent activity of primary renal
                                 disease.)
                               CARE LEVEL 4
                               • Dialysis
                                         RESPIRATORY CONDITIONS
 ASTHMA/COPD                   CARE LEVEL 1
                               • Intermittent or mild persistent disease AND
  Refer to BOP Clinical       • Well-controlled on no more than two inhalers (short-acting beta agonist +
   Guidance on Management        low-dose inhaled corticosteroid), i.e., STEP 2 therapy AND
   of Asthma, Appendices 5
   and 6, for definitions of   • No history of intubation, status asthmaticus, or hospitalization for
   asthma severity and STEP      stabilization
   THERAPY.                    CARE LEVEL 2
                               • Moderate persistent or mild persistent not controlled with STEP 5 therapy
                                 AND
                               • No history of intubation, status asthmaticus, or hospitalization for
                                 stabilization in the previous 5 years AND
                               • Does not require chronic oxygen
                               CARE LEVEL 3
                               • History of intubation, status asthmaticus, or hospitalization for
                                 stabilization, in the previous 5 years OR
                               • Requires clinical interventions more frequently than monthly to maintain
                                 outpatient status, despite optimized treatment (does not include
                                 nebulizer treatments) OR
                               • Severe persistent asthma severity or STEP 6 therapy for greater than 3–6
                                 months, despite optimized treatment, e.g., high-dose inhaled
                                 corticosteroids plus a second controller and/or chronic systemic steroid
                                 therapy OR
                               • Frequent exacerbations despite optimized medical therapy
                               CARE LEVEL 4
                               • Requires daily, or nearly daily, nursing care on chronic basis OR
                               • Requires 24-hour/continuous oxygen supplementation.
 CYSTIC FIBROSIS               CARE LEVEL 4
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    CONDITION/DIAGNOSIS                                   CRITERIA/CARE LEVEL
                                 RESPIRATORY CONDITIONS (CONTINUED)
 OXYGEN-DEPENDENT            CARE LEVEL 3
                             • Nocturnal or intermittent oxygen requirement.
                             CARE LEVEL 4
                             • 24-hour/continuous oxygen requirement.
 OTHER                       Use Appendix 3, Medical Classification Algorithm.
 (pulmonary hypertension,
 restrictive lung disease,
 sarcoid, etc.)
                                               WOUND CARE
                                           1
 WOUNDS                      CARE LEVEL 3
  See NOTES 1–3 on          • History of prior stage 3 or 4 pressure ulcer (now healed) AND ongoing
   next page.                  risk factors, e.g., spinal cord injury/paraplegia OR
                             • High-risk diabetic foot—neuropathy with at least one of the following:
                               Significant foot deformity, peripheral arterial disease not surgically
                               correctable, or history of amputation
                             CARE LEVEL 41
                             Any of the following conditions:
                             • Any current stage 3 or 4 pressure ulcer
                             • Chronic wounds requiring surgical interventions as recommended by an
                               appropriate specialist:
                               ► Cases requiring non-urgent surgical interventions on weight-bearing
                                 surfaces should be submitted for transfer prior to surgery.
                               ► Cases requiring urgent surgical intervention should be accomplished
                                 locally prior to considering transfer.
                               ► Angioplasty/vascular bypass surgery for arterial occlusion should be
                                 accomplished locally.
                             • Postoperative management of flaps on weight-bearing surfaces and
                               diabetic foot ulcers (if done locally) when ready for hospital discharge
                               ► Require off-loading over the ulcer/surgery site until arrival at the MRC.

                             • Chronic wounds with underlying osteomyelitis
                               ► Excluding infected orthopedic hardware or non-wound related
                                 osteomyelitis
                             • Indications for more advanced wound therapy, e.g., negative pressure
                               wound therapy or hyperbaric oxygen (HBO)2
                             • Other chronic wounds not meeting healing goals despite optimized basic
                               wound care interventions as described in the BOP Clinical Guidance on
                               Wound Care and as recommended by a certified wound care specialist
                               or licensed independent practitioner experienced with wound
                               management, considered on a case-by-case basis.3
                               ► Stage 2 pressure ulcers

                               ► Diabetic/neuropathic foot ulcers

                               ► Vascular ulcers: arterial or venous

                               ► Open surgical, atypical, or complex wounds

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      CONDITION/DIAGNOSIS                                     CRITERIA/CARE LEVEL
                                           WOUND CARE (CONTINUED)

                    NOTES on Wound Care Consultations and Redesignation Requests
 1 All consultations or transfer requests for wound care must be supported by documentation,

     both in the request and in the medical record, and must include specific and detailed information
     about the wound including wound duration, location, type/cause, size measurements (initial, current,
     and 2 weeks prior), color(s) of wound bed, presence of drainage and slough, involvement of deep
     tissues (such as fascia, muscle, or bone), presence of infection, relevant diagnostic studies, current
     and past treatments, specific indications for advanced wound therapies3, and a photo of the wound
     loaded into BEMR. For hospitalized inmates, institution clinical staff should obtain as much of this
     information as possible (including a current treatment plan) from the hospital.
 2
     The role of HBO in the treatment of wounds is not clearly established and must be reviewed
     and approved prior to initiating treatment, by the Regional Medical Director for inmates
     incarcerated at mainline institutions (CARE LEVELS 1–3) or by the Chief of Health Programs for inmates
     at CARE LEVEL 4 sites. Refer to the BOP Clinical Guidance on Wound Care for further discussion of
     advanced wound therapies.
 3
     Prior to requesting a medical transfer, consultation should be obtained if treatment/healing goals
     are not met after 4 weeks.
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APPENDIX 3. MEDICAL CLASSIFICATION ALGORITHM


                                                 YES            Refer to Appendix 1 or Appendix 2
     Does the inmate meet at least one of
   the criteria in Appendix 1 or Appendix 2 ?                 for appropriate care level assignment.

                     NO


              Does the inmate have a CHRONIC MEDICAL/ PSYCHIATRIC CONDITION OR DISABILITY ?


                     NO                                                    YES


                                                              Is the inmate able to accomplish ADLs
                                                                 INDEPENDENTLY or with assistance
                                                                    from an inmate companion?

                                                              YES                             NO


                                                         Can the condition be managed with
               AGE: Is the inmate               YES
                                                         USUAL CLINICAL INTERVENTIONS EVERY
                age 70 or older?                          6 MONTHS, OR LESS OFTEN (and only
                                                            rarely need more acute care)?
         NO                  YES
                                                                     NO


                                                           Can the condition be managed
            CARE               CARE              YES
                                                          with USUAL CLINICAL INTERVENTIONS
           LEVEL 1            LEVEL 2                     EVERY 1-6 MONTHS (and only rarely
                                                               need more acute care)?


                                                                     NO


                                                            Does the condition require
                                                          DAILY OR NEARLY DAILY NURSING
                                                           OR THERAPY INTERVENTIONS?



                                                         NO                YES




                                                            CARE              CARE
                                                           LEVEL 3           LEVEL 4




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